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                                                    November 10, 2022

VIA ECF
Hon. Sean H. Lane
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140

       Re:     In re WB Bridge Hotel LLC and 159 Broadway Member LLC,
               Case No.: 20-23288-shl

Dear Judge Lane:

        As you may recall, we represent 159 Broadway 1 LLC, the secured creditor and
proponent of the confirmed chapter 11 plan in this case. We are writing you to update you
on the status of our closing of the purchase of the above referenced debtor and debtor-in-
possession’s (the “Debtor”) property. Although we are aware of your Honor’s order
requiring us to close by today, I must inform you that the closing will not take place today
due to the fact that we received signatures from the Debtor on the various documents too
late today to wire. Once we can wire, we will be able to close. We will attempt to close as
soon as possible. Given that tomorrow is Veteran’s Day and banks are generally closed,
however, we may not be able to close until Monday, November 14, 2022. When the closing
occurs, wires will be sent to those entities entitled to receive payments under the Plan and
the various orders issued by this Court.

                                                    Respectfully submitted,

                                                    KRISS & FEUERSTEIN, LLP,
                                                    counsel to 159 Broadway 1 LLC

                                                    /s/ Daniel N. Zinman
                                                    By: Daniel N. Zinman, Esq.
